






							

	





NUMBER 13-08-00359-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG  


                                                                                                                      

							 

FABIAN MEDLIN,	  				   			 Appellant,


v.


THE STATE OF TEXAS,					        	 	  Appellee.

                                                                                                                                      


On appeal from the 156th  District Court

of Bee County, Texas.

                                                                                                                      


MEMORANDUM OPINION


Before Chief Justice Valdez and Justices Yañez and Benavides


Memorandum Opinion by Chief Justice Valdez
		On December 14, 2007, appellant, Fabian Medlin, was indicted on one count of
aggravated sexual assault of a child and two counts of indecency with a child, first, second,
and third-degree felonies, respectively.  See Tex. Penal Code Ann. § 22.021 (Vernon
Supp. 2008), § 21.11 (Vernon 2003).  The case was tried to a jury.  When the State rested,
Medlin moved for a directed verdict on the third count, and the trial court granted his
motion.  The jury found Medlin guilty on both counts that were submitted to it.  Medlin
elected to have the trial court assess punishment, and his wife, mother, and he testified
during the punishment phase.  The trial court sentenced Medlin to terms of confinement
for twenty and ten years, to run concurrently.  Medlin's court-appointed appellate counsel
has filed an Anders brief.  We affirm.

I. Anders Brief

	Pursuant to Anders v. California, 386 U.S. 738, 744 (1967), Medlin's court-appointed
appellate counsel has filed a brief with this Court, stating that her review of the record
yielded no grounds or error upon which an appeal can be predicated.  Although counsel's
brief does not advance any arguable grounds of error, it does present a professional
evaluation of the record demonstrating why there are no arguable grounds to be advanced
on appeal.  See In re Schulman, 252 S.W.3d 403, 407 n.9 (Tex. Crim. App. 2008) ("In
Texas, an Anders brief need not specifically advance 'arguable' points of error if counsel
finds none, but it must provide record references to the facts and procedural history and
set out pertinent legal authorities.") (citing Hawkins v. State, 112 S.W.3d 340, 343-44 (Tex.
App.-Corpus Christi 2003, no pet.)); Stafford v. State, 813 S.W.2d 503, 510 n.3 (Tex.
Crim. App. 1991).  

	In compliance with High v. State, 573 S.W.2d 807, 813 (Tex. Crim. App. [Panel Op.]
1978), Medlin's counsel has carefully discussed why, under controlling authority, there are
no errors in the trial court's judgment.  Counsel has informed this Court that she has:  (1)
examined the record and found no arguable grounds to advance on appeal, (2) served a
copy of the brief and counsel's motion to withdraw on Medlin, and (3) informed Medlin of
his right to review the record and to file a pro se response within thirty days. (1)  See Anders,
386 U.S. at 744; Stafford, 813 S.W.2d at 510 n.3; see also In re Schulman, 252 S.W.3d
at 409 n.23.  More than an adequate period of time has passed, and Medlin has not filed
a pro se response.  See In re Schulman, 252 S.W.3d at 409.

II. Independent Review	Upon receiving an Anders brief, we must conduct a full examination of all the
proceedings to determine whether the case is wholly frivolous.  Penson v. Ohio, 488 U.S.
75, 80 (1988).  We have reviewed the entire record and counsel's brief and have found
nothing that would arguably support an appeal.  See Bledsoe v. State, 178 S.W.3d 824,
826-28 (Tex. Crim. App. 2005) ("Due to the nature of Anders briefs, by indicating in the
opinion that it considered the issues raised in the briefs and reviewed the record for
reversible error but found none, the court of appeals met the requirement of Texas Rule
of Appellate Procedure 47.1."); Stafford, 813 S.W.2d at 509.  Accordingly, we affirm the
judgment of the trial court.

III. Motion to Withdraw

	In accordance with Anders, Medlin's attorney has asked this Court for permission
to withdraw as counsel for appellant.  See Anders, 386 U.S. at 744; see also In re
Schulman, 252 S.W.3d at 408 n.17 (citing Jeffery v. State, 903 S.W.2d 776, 779-80 (Tex.
App.-Dallas 1995, no pet.) (noting that "[i]f an attorney believes the appeal is frivolous, he
must withdraw from representing the appellant.  To withdraw from representation, the
appointed attorney must file a motion to withdraw accompanied by a brief showing the
appellate court that the appeal is frivolous.") (citations omitted)).  We grant counsel's
motion to withdraw.  Within five days of the date of this Court's opinion, counsel is ordered
to send a copy of the opinion and judgment to Medlin and to advise him of his right to file
a petition for discretionary review. (2)  See Tex. R. App. P. 48.4; see also In re Schulman, 252
S.W.3d at 412 n.35; Ex parte Owens, 206 S.W.3d 670, 673 (Tex. Crim. App. 2006).


 							________________________

							ROGELIO VALDEZ

							Chief Justice	

Do Not Publish. Tex. R. App. P. 47.2(b)

Memorandum Opinion delivered and 

filed this the 2nd_day of July, 2009. 
1.   The Texas Court of Criminal Appeals has held that "the pro se response need not comply with the
rules of appellate procedure in order to be considered.  Rather, the response should identify for the court
those issues which the indigent appellant believes the court should consider in deciding whether the case
presents any meritorious issues."  In re Schulman, 252 S.W.3d 403, 409 n.23 (Tex. Crim. App. 2008) (quoting
Wilson v. State, 955 S.W.2d 693, 696-97 (Tex. App.-Waco 1997, no pet.)).
2.  No substitute counsel will be appointed.  Should appellant wish to seek further review of this case
by the Texas Court of Criminal Appeals, he must either retain an attorney to file a petition for discretionary
review or file a pro se petition for discretionary review.  Any petition for discretionary review must be filed within
thirty days from the date of either this opinion or the last timely motion for rehearing that was overruled by this
Court.  See Tex. R. App. P. 68.2.  Any petition for discretionary review must be filed with this Court, after which
it will be forwarded to the Texas Court of Criminal Appeals.  See Tex. R. App. P. 68.3; 68.7.  Any petition for
discretionary review should comply with the requirements of Rule 68.4 of the Texas Rules of Appellate
Procedure.  See Tex. R. App. P. 68.4.


